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                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION

UNITED STATES OF AMERICA                           §

Vs.                                                §   CRIMINAL ACTION NO. 9:05CR11(4)

KASSIE BIRDWELL                                    §



            FINDINGS OF FACT AND RECOMMENDATION ON FELONY GUILTY
                  PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for

administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Civil

Procedure.

       On the 20th day of June, 2005, this cause came before the undersigned United States

Magistrate Judge for Guilty Plea and Allocution of the Defendant, Kassie Birdwell, on the 1-Count

Information1 filed herein charging her with a violation of Title 18, United States Code, Section

1956(a)(1)(B)(i).     After conducting the proceeding in the form and manner prescribed by

Fed.R.Crim.P. 11, the Court finds:

       a.        That the Defendant, after consultation with counsel of record, has knowingly and
                 voluntarily consented to the administration of the Guilty Plea and Allocution in this
                 cause by a United States Magistrate Judge subject to a final approval and imposition
                 of sentence by the District Judge.

       b.        That the Defendant pled guilty to the 1-Count Information, pursuant to a plea
                 agreement with the Government which has been filed and disclosed in open court
                 pursuant to Fed.R.CrimP. 11(c)(2). Count 1 of the Information charges the
                 Defendant with money laundering, in violation of Title 18, United States Code,

       1
           In open court, the Defendant signed a waiver of Indictment.
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               Section 1956(a)(1)(B)(i).

       c.      That the Defendant is fully competent and capable of entering an informed plea, that
               the Defendant is aware of the nature of the charges and the consequences of the plea,
               and that the plea of guilty is a knowing and voluntary plea supported by an
               independent basis in fact containing each of the essential elements of the offense.

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Judge accept the Plea Agreement and the Guilty Plea of the Defendant,

conditional upon a review of the presentence report, and that the Defendant, KASSIE BIRDWELL,

be finally adjudged guilty of that offense.

       The United States District Clerk shall serve notice of this proposed Findings of Fact and

Recommendation on all parties by electronic mail. Within ten (10) days after receipt of the

magistrate judge’s report, any party may serve and file written objections to the findings, conclusions

and recommendations contained in this report. A party’s failure to file written objections to the

findings, conclusions and recommendations contained in this report within ten days after being

served with a copy shall bar that party from de novo review by the district judge of those findings,

conclusions and recommendations and, except on grounds of plain error, from appellate review of

unobjected-to factual findings and legal conclusions accepted and adopted by the district judge.

Douglass v. United States Auto Ass’n., 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

     So ORDERED and SIGNED this 21 day of June, 2005.



                                                     ____________________________
                                                     JUDITH K. GUTHRIE
                                                     UNITED STATES MAGISTRATE JUDGE
